               IN THE UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF MISSOURI
                            CENTRAL DIVISION


UNITED STATES OF AMERICA,                     )
                                              )
              Plaintiff,                      )
                                              )
       v.                                     )   Case No. 06-4002-11-CR-C-NKL
                                              )
CALVIN LEON CORELY,                           )
                                              )
              Defendant.                      )
                                              )
                                              )


                                         ORDER

       On March 26, 2007, United States Magistrate Judge William A. Knox

recommended that the Court enter an Order denying Calvin Leon Corley’s (“Corley”)

motions for a bill of particulars and suppression of evidence. See Report and

Recommendations [Docs. ## 387, 388]. Corley filed timely objections to the R&Rs [Doc.

# 399]. After a de novo review of the record, the Court is convinced that the

recommendations of the Magistrate are correct and should be adopted.

I.     Suppression of Evidence Obtained Through Interception of Wire
       Communications

       An order authorizing a wiretap must include, among other things, “a full and

complete statement as to whether or not other investigative procedures have been tried

and failed or why they reasonably appear to be unlikely to succeed if tried or to be too

dangerous.” 18 § 2518(1)(c). Law enforcement need not exhaust all other possible

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sources of evidence to satisfy § 2518(1)(c). See United States v. Matya, 541 F.2d 741,

745 (8th Cir. 1976). DEA agent Steve Mattas testified that a wiretap was necessary in

this case because, although an investigation had been ongoing for some time, the

government needed corroborating evidence of the scope of the conspiracy involved which

they had not been able to acquire through other means. Corley argues that the wiretap

order (and its 30 day extension) was unnecessary because the government already had all

the evidence it needed to prosecute its case. He suggests that under Judge Knox’s

reasoning, the necessity requirement is meaningless because the government can always

claim it needs more evidence. Be that as it may, Corley makes no attempt to impeach

Mattas’s testimony concerning the necessity of the warrant or the affidavit supporting the

extension of the wiretap for an additional 30 days. “If law enforcement officers are able

to establish that conventional investigatory techniques have not been successful in

exposing the full extent of the conspiracy and the identity of each coconspirator, the

necessity requirement is satisfied.” United States v. Jackson, 345 F.3d 638, 644 (8th Cir.

2003). Presented with Mattas’s testimony and no countervailing evidence, the Court

finds no reason to suppress evidence obtained through the wiretap.

       Finally, Corley argues that several of the intercepted wire communications should

have been minimized when agents realized that the calls related to other activity rather

than to drug trafficking. The Court reviews the Government’s failure to minimize

surveillance for objective reasonableness. Scott v. United States, 436 U.S. 128, 137-38

(1978); United States v. Macklin, 902 F.2d 1320, 1328 (8th Cir. 1990). When


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determining whether the Government’s surveillance was reasonable, “a reviewing court

must consider a variety of factors, including the scope of the enterprise, the agent’s

reasonable expectation of the content of a call, the extent of judicial supervision, length

and origin of a call, and use of coded or ambiguous language.” Macklin, 902 F.2d at

1328. More extensive wiretapping is reasonable when the investigation focuses on

determining the scope of a widespread conspiracy. Scott, 436 U.S. at 1340. This is also

true when the conversations are in the jargon of the drug trade. United States v. Losing,

539 F.2d 1174, 1180 (8th Cir. 1976); United States v. Daly, 535 F.2d 434, 439 (8th Cir.

1976); United States v. Davis, 882 F.2d 1334, 1345 (8th Cir. 1989). The Government’s

conduct can be reasonable even if the total number of conversations intercepted contained

a high percentage of nonpertinent calls. Scott, 436 U.S. at 140; United States v.

O’Connell, 841 F.2d 1408, 1417 (8th Cir. 1989). Under the circumstances of this case,

the Court finds the extent of the Government’s wiretapping objectively reasonable.

II.    Suppression of Evidence Seized

       Corley objects to Judge Knox’s R&R as to the evidence seized at his residence on

the grounds that the search warrant was not sufficiently particular and that the statements

in the affidavit supporting the warrant did not meet the standard for probable cause. The

Court agrees with Judge Knox. A warrant must be sufficiently definite so as to enable the

executing officer to ascertain and identify the place to be searched and the objects to be

seized. Steele v. United States, 267 U.S. 498, 503-04 (1925); United States v. Davis, 557

F.2d 1239, 1248 (8th Cir. 1977). “Where the precise identity of goods cannot be


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ascertained at the time the warrant is issued, naming only the generic class of items will

suffice.” United States v. Johnson, 541 F.2d 1311, 1313 (8th Cir. 1976); see also United

States v. Peters, 791 F.2d 1270, 1278 n. 3 (7th Cir. 1986); United States v. DeLuna, 763

F.2d 897, 908 (8th Cir. 1985). One category of evidence described in the warrant

included

       Any and all tax records, books, records, receipts, bank statements, and
       records, money drafts, letters of credit, money orders, and cashier’s checks,
       receipts, passbooks bank checks, lease agreements, loan records, documents
       and/or keys relating to safe deposit boxes and other items evidencing the
       obtaining, secreting, transfer, and/or concealment of assets, and the
       obtaining, secreting, transfer concealment and/or expenditure of money
       gained through drug trafficking, including but not limited to, paper and
       computer formats.

Other categories included, “Any and all records, tickets, notes, schedules, receipts, and

other items relating to intrastate, interstate, and foreign travel, including but not limited

to, paper and computer formats, and packages”; “Any and all address and/or telephone

books and records reflecting names, addresses, and/or telephone numbers, including but

not limited to, paper and computer formats”; “Any and all books, records, receipts, notes,

ledgers, and other papers relating to the transportation, ordering, purchase, and

distribution of controlled substances, including but not limited to, paper and computer

formats”; “Any and all United States currency and financial instruments, including stocks

and bonds which are evidence of the receipt, transfer, and secreting of assets.” The Court

finds the warrant was sufficiently particular to satisfy the Fourth Amendment.

       With regard to the sufficiency of the affidavit supporting the warrant, the standard

for determining whether information obtained from confidential informants and other

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sources is a “totality of the circumstances” test. United States v. Ross, 713 F.3d 389, 393

(8th Cir. 1983). Where police obtain information from a confidential informant, the

informant’s reliability, veracity and basis of knowledge are relevant considerations rather

than independent elements necessary to a finding of probable cause. Illinois v. Gates,

462 U.S. 213, 230 (1983); Ross, 713 F.2d at 393. For example, “an informant’s clear

basis of knowledge [can] be balanced against, rather than automatically overruled by, that

informant’s lack of a ‘track record’ of reliability.” United States v. Reivich, 793 F.2d 957,

959 (8th Cir. 1986). Moreover, the informant’s information in this case was corroborated

by the interception of a significant number of wire communications related to drug sales.

Given the totality of circumstances, there was probable cause for the warrant to search

Corley’s residence.

       Even if there weren’t, however, the search conducted was based upon the officers’

good-faith reliance on a judicially authorized warrant and thus any evidenced seized

should not be suppressed. United States v. Leon, 468 U.S. 897 (1984); United States v.

Moore, 41 F.3d 370, 376 (8th Cir. 1994). The good faith exception allows evidence

obtained pursuant to a search warrant, later found to be invalid, to be admissible if the

executing officers acted in good faith and in objectively reasonable reliance on the

warrant. United States v. Leon, 468 U.S. at 922. There is no evidence before the Court

that the warrant was obviously deficient on its face such that a reasonable officer could

not have relied on it in good faith. Consequently, Judge Knox’s R&R as to the evidence

seized will be adopted.


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III.   Bill of Particulars

       Finally, Corley has alleged that Count One of the Indictment is so vague and

indefinite that he will be denied his right to a fair trial unless the Court orders the filing of

a bill of particulars. Count I charges that Corley conspired with others to

       knowingly and intentionally distribute and possess with the intent to
       distribute a controlled substance, that is, 1000 kilograms or more of a
       mixture and substance containing a detectable amount of marijuana, a
       Schedule I controlled substance, and 5 kilograms or more of a mixture and
       substance containing a detectable amount of cocaine, a Schedule II
       controlled substance.

Corley argues that the indictment, which spans conduct from 1998 to 2005, does not give

him adequate notice of the dates he is alleged to have participated in the conspiracy,

whom he conspired with on such dates, where the conspiracy occurred, and the specific

amounts of drugs he is believed to be responsible for. “An indictment is legally sufficient

on its face if it contains all of the essential elements of the offense charged, fairly informs

the defendant of the charges against which he must defend, and alleges sufficient

information to allow a defendant to plead a conviction or acquittal as a bar to a

subsequent prosecution.” United States v. Wessels, 12 F.3d 746, 750 (8th Cir.1993)

(citing United States v. Young, 618 F.2d 1281, 1286 (8th Cir.1980)). The district court

has broad discretion to grant or deny a bill of particulars, United States v. Sileven, 985

F.2d 962, 966 (8th Cir. 1993). As the Court concludes the indictment is sufficient on its

face, no bill of particulars is necessary in this case.

IV.    Conclusion

       Accordingly, it is

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      ORDERED that Judge Knox’s Report and Recommendations of March 26, 2007,

[Docs. ## 387, 388] are ADOPTED.



                                          s/ Nanette K. Laughrey
                                          NANETTE K. LAUGHREY
                                          United States District Judge

Dated: August 1, 2007
Jefferson City, Missouri




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